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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA for the use of
CONTRERAS CONSTRUCTION CORP., a
New Mexico corporation,

              Plaintiff,

v.                                                 Case No. 1:21-cv-00200-KWR-SMV

TRAVELERS CASUALTY & SURETY
COMPANY OF AMERICA, a Connecticut
Corporation, and FLINTCO, LLC, a
an Oklahoma limited liability company,

              Defendants.

                                 NOTICE OF SETTLEMENT

       Plaintiff/Counter-Defendant Contreras Construction Corp., by and through its counsel of

record Bingham, Hurst & Apodaca, P.C. (Wayne E. Bingham) and Riley, Shane & Keller, P.A.

(David A. Gonzales, Armand D. Huertaz, and Drew A. Larkin) hereby notifies the Court that a

full and final settlement has been reached with Defendant/Counter-Plaintiff Flintco, LLC, and no

controversies remain between the two parties. Dismissal pleadings are forthcoming.

                                                   Respectfully submitted,

                                                   RILEY, SHANE & KELLER, P.A.

                                                   By:     /s/ Drew A. Larkin
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                                                      -and-

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                                                      Attorneys for Contreras Constr. Corp.


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on November 15, 2021, a copy of the foregoing was
electronically filed through the CM/ECF system, which caused participating CM/ECF counsel to
be served with same by electronic means, and was emailed on the same date to the following
counsel of record:

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/s/ Drew A. Larkin
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